Case 5:18-cV-OllO4-OLG Document 1 Filed 10/19/18 Page 1 of 5

IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TEXAS

sAN ANToNIo DIvIsIoN
HERMAN JoNEs, §
Plaimiff, §
V §
' § civil Acrion NO. 5;18-€\/-1104
BAzco PETRoLEUM TRANsPoRT, §
TEXAS DivlsloN, LLC, §
Defendant. §

 

PLAINTIFF HERMAN JONES’ ORIGINAL COMPLAINT AND JURY DEMAND

 

For his Original Complaint against Defendant Bazco Petroleum Transport, Texas

Division, LLC, Plaintiff Herman J ones shows the following:
INTRODUCTION

l. This is an action for employment discrimination under the Uniformed Services
Employment and Reemployment Rights Act (USERRA). Plaintiff Herman Jones is a veteran of
the U.S. Army and a member of the U.S. Army Reserves. He Was employed by Defendant
Bazco Petroleum Transport, Texas Division, LLC as a driver based out of Bexar County, Texas.
While employed by Defendant, Plaintiff had annual as well as monthly weekend drill obligations
as part of his enlistment in the Reserves.

PARTIES
2. Plaintiff Herman Jones is an individual residing in San Antonio, Bexar County,

Texas, and may be served With papers through the undersigned counsel.

Page 1 of 5

Case 5:18-CV-01104-OLG Document 1 Filed 10/19/18 Page 2 of 5

3. Defendant Bazco Petroleum Transport, Texas Division, LLC is a domestic limited
liability company organized under the laws of the State of Texas. According to the Texas
Secretary of State website, Defendant’s principal place of business is located at 3133 General
Hudnell Drive, Ste. 120, San Antonio, Texas 78226. lt may be served with process through its
Registered Agent, Nicole Delovely, at 3133 General Hudnell Drive, Ste. 120, San Antonio,
Texas 78226.

JURISDICTION AND VENUE

4. The Cotu't possesses subject matter jurisdiction because this case arises under a
federal statute, the Uniformed Services Act. The Court possesses personal jurisdiction over
Defendant because Defendant maintains offices in Texas and regularly conducts business in
Texas. Venue is proper in the Westem District of Texas because a substantial portion of the
events giving rise to Plaintist claims occurred Within the geographic area of the San Antonio
Division of the Westem District of Texas.

STATEMENT OF FACTS

5. Plaintiff Herman Jones is a veteran of the U.S. Army and a member of the U.S.
Army Reserves. His duty post is Fort Hood, Texas.

6. On or about February 23, 2018, Plaintiff obtained employment with Defendant as
a CDL driver based out of Defendant’s location in Von Ormy, Texas. Although he Worked out
of Defendant’s yard in Von Ormy, Plaintiff was assigned to work to transport petroleum in and
around La Salle, County in South Texas. While employed by Defendant, Plaintiff had to report
for military duty on several occasions, including annual training as well as several weekend

drills.

Page 2 of 5

Case 5:18-CV-01104-OLG Document 1 Filed 10/19/18 Page 3 of 5

7. When Plaintiff had monthly weekend drills at Fort Hood, he always gave his
employer ample advanced notice. These weekend drills required Plaintiff to report for duty early
Saturday morning and drill through Sunday. However, because Plaintiff was traveling to Fort
Hood from South Texas, and because Plaintiff had to arrive the day before (i.e., Friday) to claim
his hotel room and be ready to drill early the next morning, Plaintiff Would also be absent from
Work on the Friday before drill so that he could travel to Fort Hood.

8. Defendant discharged Plaintiff from employment effective June 29, 2018 after
returning from weekend military drill at Fort Hood, Texas. In terminating Plaintiff, Defendant
relied in large part on the fact that Plaintiff had missed work the Fridays before his monthly
weekend drills even though he always requested these days off. Defendant also claimed that
Plaintiff had failed to “make up” the days he missed for weekend drill. Defendant claimed that
these absences resulted in a “loss of productivity.”

CAUSE OF ACTION: USERRA DISCRIMINATION

9. Plaintiff re-alleges Paragraphs 1 through 8 supra.

10. Under 38 USC Section 4311, “A person who is a member of, applies to be a
member of, performs, has performed, applies to perform, or has an obligation to perform service
in a uniformed service shall not be denied initial employment, reemployment, retention in
employment, promotion, or any benefit of employment by an employer on the basis of that
membership, application for membership, performance of service, application for service, or
obligation.” Section 4323(a)(3) provides an aggrieved employee with a private action in the U.S.

District Court to redress violations of Section 4311. The federal courts have held that this and

Page 3 of 5

Case 5:18-cV-01104-OLG Document 1 Filed 10/19/18 Page 4 of 5

the other provisions of USERRA are to be “liberally construed in favor of` those who serve their
country.”

ll. To arrive at military drill on time and with adequate rest, and to claim his housing
accommodations during drill, Plaintiff needed to be at the hotel the evening before drill was
scheduled to commence. Drill activities then started very early the next moming. Consequently,
Plaintiff always requested as time off the day before weekend drill to allow for sufficient time to
travel to Fort Hood and to check in at the hotel. Please note that I-Ierman’s shifts with your
company were typically 12 to 14 hours long (sometimes even longer) and were principally in the
Cotulla, Texas area, which is some five hours away from Fort Hood. He simply would not have
been able to pull his shift with your company on the day before military duty and still been able
to get to Fort Hood in time to claim his hotel room and be rested for military duty early the next
moming.

12. U.S. Depa.rtment of Labor regulations and the federal case law interpreting the
USERRA provide that an employer is required to provide a service member with ample time off
to travel safely to military duty, including monthly weekend drill, and to arrive fit for duty. It
also is unlawful under USERRA for an employer to require a service member to make up time
missed due to military duty.

13. Plaintiff’s time off for military duty, including time off on Fridays before
weekend drill to travel to drill, was a motivating factor in Defendant’s decision to discharge
Plaintiff from employment As such, Defendant violated Plaintiff’s rights under Section 4311 of

USERRA. As a result of Plaintiff’s wrongful discharge from employment, Plaintiff has suffered

Page 4 of 5

Case 5:18-CV-01104-OLG Document 1 Filed 10/19/18 Page 5 of 5

lost wages and benefits for which he now sues. Additionally, because Defendant acted willfully,

Plaintiff is entitled to an award of liquidated damages.

14. .

15.

JURY DEMAND

Plaintiff demands a trial by jury.

CONCLUSION AND PRAYER
Plaintiff prays that, upon final judgment, he be awarded the following:
a. Lost wages and benefits;
b. Liquidated damages;
c. Attomey fees;
d. Costs court and litigation expenses;
e. Pre- and post-judgment interest; and

f. All other relief to Which he is entitled.

Respectfully submitted,

l\/lichael V. Galo, Jr.
' State Bar No. 00790734
GALo LAW FlRM, P.C.
4230 Gardendale, Bldg. 401
San Antonio, Texas 78229
Telephone: 210.6]6.9800
Facsimile: 210.616.9898
maalo@:galolaw.com
ATTORNEYS FOR PLAlNTlFF
HERMAN JoNEs

Page 5 of 5

